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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

AYANNA JOHNSON, 44497-037                              *
                                                       *
                                                       *
v.                                                     *              Civil Action No. CCB-13-2780
                                                       *              Related Crim. Case CCB-09-547
UNITED STATES OF AMERICA                               *
                                                       *
                                                      ***

                                              MEMORANDUM

        Respondent has filed a response requesting dismissal of Ayanna Johnson’s Motion to

Vacate, Set Aside, or Correct Sentence as time-barred. (ECF No. 202). Johnson, who is self-

represented, has filed a reply in opposition. (ECF No. 203).1

        After reviewing the parties' submissions, the court finds that no hearing is necessary. See

Rule 8(a), Rules Governing Section 2255 Cases in the United States District Courts; Local Rule

105.6 (D. Md. 2011). For the reasons stated herein, the motion to vacate, set aside, or correct

sentence (ECF No. 188) will be dismissed as time-barred and a certificate of appealability will

not issue.

                                              BACKGROUND

        On July 28, 2011, Johnson pleaded guilty to Conspiracy to Commit Bank Fraud (Count

One) and Aggravated Identity Theft (Count 31) in violation of 18 U.S.C. § 1349 and § 1028A.

On April 3, 2012, Johnson was sentenced to 46 months on Count One, followed by a consecutive

24 months on Count 31, for a total of 70 months in prison. She was also sentenced to supervised

release for a term of three years on Count One, with a concurrent term of one year of supervised

release on Count 31, and she was ordered to pay $609,989.06 in restitution. This sentence was


1
 Consonant with Hill v. Braxton, 277 F.3d 701, 706 (4th Cir. 2002), Johnson was afforded an opportunity to explain
why her motion should not be dismissed as time-barred or why principles of equitable tolling apply. (ECF No. 195).
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reflected in the judgment that was entered on April 6, 2012. (ECF No. 141). Petitioner, who

waived the right to appeal in the plea agreement, did not file a direct appeal.

       Johnson’s petition was received by the Clerk on September 20, 2013. (ECF No. 188). For

the purposes of assessing timeliness, the motion is deemed filed on August 25, 2013, the date

Johnson signed it and presumably placed it in the prison mail system. See Houston v. Lack, 487

U.S. 266, 276 (1988) (holding that a prisoner's mail is deemed filed when the prisoner delivers it

to prison officials for mailing). On November 1, 2013, the court directed the government to file a

response addressing the timeliness of the petition. (ECF No. 195).

                                              DISCUSSION

I. LIMITATIONS PERIOD

     A one-year period of limitation applies to motions to vacate, set aside, or correct under

28 U.S.C. § 2255(f) which provides:

               A 1–year period of limitation shall apply to a motion under this section.
               The limitation period shall run from the latest of—

               (1) the date on which the judgment of conviction becomes final;

               (2) the date on which the impediment to making a motion created
               by governmental action in violation of the Constitution or laws of
               the United States is removed, if the movant was prevented from
               making a motion by such governmental action;

               (3) the date on which the right asserted was initially recognized by
               the Supreme Court, if that right has been newly recognized by the
               Supreme Court and made retroactively applicable to cases on
               collateral review; or

               (4) the date on which the facts supporting the claim or claims
               presented could have been discovered through the exercise of due
               diligence.

28 U.S.C. § 2255(f). Respondent asserts that under the subsection applicable here, 28 U.S.C §

2255(f)(1), the one-year period begins to run from when the judgment of conviction became

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final. Where, as here, there was no appeal, the conviction becomes final for the purpose of

starting the one-year limitations period when the opportunity to appeal expires. See Clay v.

United States, 537 U.S. 522, 524–25, 532 (2003).

          In this case, the judgment of conviction was entered April 6, 2012, and the conviction

became final for purposes of §2255(f)(1) fourteen days later. See Fed. R. App. P. 4(b)(1)(A)

(requiring a notice of appeal to be filed within fourteen days after the entry of judgment). Thus,

the one-year statute of limitations started running on April 20, 2012, and expired one year later

on April 20, 2013. Thus, when Johnson filed her motion on August 25, 2013, the one-year

limitations period had already expired.

         Johnson counters that the limitations period should run instead from the date on which

the facts supporting her claims could be presented or discovered through the exercise of due

diligence as set forth under 28 U.S.C. § 2255(f)(4). (ECF No. 203). Specifically, she avers the

limitations period should be calculated as beginning to run on June 10, 2013, the date the

Supreme Court decided Peugh v. United States, 133 S.Ct. 2072 (2013). In Peugh, the Supreme

Court held that the Ex Post Facto Clause is violated when a defendant is sentenced under United

States Sentencing Guidelines (“Guidelines”) promulgated after the defendant committed his

crimes that provide a higher sentencing range than the Guidelines in effect at the time of the

offense. 133 S.Ct. at 2088. Mindful that Johnson is a self-represented petitioner, this court

assumes she premises her position on 28 U.S.C. § 2255(f)(3),2 which specifically contemplates

the impact of Supreme Court rulings issued after a petitioner’s conviction became final.



2
  Johnson presents no new “facts” concerning her case to trigger § 2255(f)(4). See, e.g., Shannon v. Newland, 410
F.3d 1083, 1089 (9th Cir. 2005) (“[A] state-court decision establishing an abstract proposition of law arguably
helpful to the petitioner's claim does not constitute the ‘factual predicate’ for that claim.”); Wilder v. United States,
2011 WL 3444178, at *8 (W.D. Pa. Aug. 8, 2011) (holding that a United States Supreme Court decision relevant to
petitioner's claims did not permit a new start date for the limitations period under § 2255(f)(4) because the decision
was not a fact in the case at issue).

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       “[H]abeas corpus cannot be used as a vehicle to create new constitutional rules of

criminal procedure unless those rules would be applied retroactively to all defendants on

collateral review through one of . . . two exceptions.” Teague v. Lane, 489 U.S. 288, 316 (1989).

The first exception provides that a new substantive rule of law will be applied retroactively if the

rule places an entire category of primary conduct beyond the reach of the criminal law or if the

rule alters the range of conduct or the class of persons that the law punishes. Id. at 311; Schriro v.

Summerlin, 542 U.S. 348, 353 (2004). The second exception provides a new rule of criminal

procedure will be applied retroactively “if it requires the observance of those procedures that ...

are implicit in the concept of ordered liberty” and that are “watershed rules of criminal

procedure.” Teague, 489 U.S. at 311 (internal quotation marks omitted) (internal citations

omitted).

       Johnson provides no legal support for the contention that Peugh applies retroactively.

The Supreme Court did not announce its holding in Peugh to apply retroactively to cases on

collateral review. The Fourth Circuit has not ruled on whether the holding in Peugh is retroactive

on collateral review, and those courts having had occasion to consider the question have held

Peugh does not apply retroactively on collateral review. See, e.g. Hawkins v. United States, 724

F.3d 915, 917 (7th Cir. 2013); Rogers v. United States, -- Fed. App’x --, 2014 WL 1272121, at

*3 (6th Cir. Mar. 31, 2014); United States v. Locke, -- F. Supp. 2d --, 2013 WL 5739207, at *8

(D.D.C. Sept. 6, 2013); Engel v. United States, 2014 WL 268733, at *3 (W.D.N.C. Jan. 23,

2014); United States v. Condra, 2013 WL 4678165, at *2 (W.D. Va. Aug. 30, 2013).

Consequently, Johnson fails to demonstrate her motion is timely.

       In any event, this court does not need to decide the issue of retroactivity, because

Johnson’s reliance on Peugh is misplaced. Johnson was sentenced under the Guidelines in effect



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at the time the offenses to which she pleaded guilty were committed. Notably, the sentence

imposed was at the low end of the applicable guideline range.

II. EQUITABLE TOLLING

       “[T]he one year limitation period is also subject to equitable tolling in ‘those rare

instances where—due to circumstances external to the party's own conduct—it would be

unconscionable to enforce the limitation against the party.’” Hill v. Braxton, 277 F.3d 701, 704

(4th Cir. 2002) (quoting Harris v. Hutchinson, 209 F.3d 325, 330 (4th Cir. 2000)). In Holland v.

Florida, the Supreme Court stated that in order to be entitled to equitable tolling the movant

must show (1) that she has diligently pursued her rights and (2) that some extraordinary

circumstance prevented the timely filing. 560 U.S. 631, 649 (2010); see also Pace v.

DiGuglielmo, 544 U.S. 408, 418 (2005). Petitioner provides no colorable arguments to support

equitable tolling.

                                         CONCLUSION

       Having concluded that the motion to vacate was filed outside the statute of limitations,

the court will dismiss the motion as untimely. A certificate of appealability will not issue because

reasonable jurists would not debate the court's decision that the motion fails to state a valid claim

of the denial of a constitutional right or the propriety of this court's procedural rulings with

respect to the petitioner’s claims. See 28 U.S.C. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473,

484 (2000). A separate order follows.



May 23, 2014                                                                 /s/
Date                                                          Catherine C. Blake
                                                              United States District Judge




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